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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES - GENERAL
 Case No.         CV 19-08171 PA (SKx)                                              Date     January 6, 2020
 Title            Wesco Insurance Company v. Tauler Smith LLP et al.



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
         Kamilla Sali-Suleyman                               Not Reported                                N/A
                Deputy Clerk                                Court Reporter                             Tape No.
                Attorneys Present for Plaintiff:                       Attorneys Present for Defendants:
                             None                                                     None
 Proceedings:                 IN CHAMBERS — COURT ORDER

        Before the Court is a “Motion to Dismiss the First Count of Plaintiff’s Complaint” filed by
defendant Tauler Smith LLP (“Defendant”). (Docket No. 18.) Plaintiff Wesco Insurance Company
(“Plaintiff”) filed an Opposition and Defendant filed a Reply. (Docket Nos. 27 and 28.) Defendants
Roma Mikha, Inc., NMRM, Inc., and Skyline Market, Inc. (hereinafter “Claimants”) have not joined in,
or made any filings related to, the Motion to Dismiss. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision without oral
argument. The hearing calendared for January 6, 2020, was vacated, and the matter taken off calendar.
For the reasons discussed below, the Court denies Defendant’s Motion.

         I.         Background

       Plaintiff seeks a declaration of rescission of a professional liability insurance policy that it issued
to Defendant. (Compl. ¶1.) Plaintiff alleges that Defendant made material misrepresentations on its
insurance applications and a warranty letter, all of which Plaintiff relied on in issuing the policy. (Id.)
According to the Complaint, Defendant’s client Outlaw Laboratory, LP (“Outlaw”) filed several lawsuits
in 2018 against Claimants and other companies that operate convenience/liquor stores. (Id. at ¶¶12-13.)
Outlaw alleged the stores sold male enhancement pills with dangerous drug ingredients and used
misleading marketing that “[gave] consumers the false impression that the products are safe and natural
supplements.” (Id. at ¶¶15-19.) On August 9, 2018, attorney Mark Poe sent a letter to Robert Tauler,
Matthew Smith, and Leticia Kimble—all lawyers employed by Defendant—that characterized the
lawsuits as a “shakedown racket.” (Id. at ¶22.) The letter states in relevant part:

                    Our client has recently brought to our attention a scam that your law firm
                    and its soon-to-be co-defendants are perpetrating on small retail stores
                    across California. We write to offer you a brief window in which you can
                    dismiss all of the pending litigation and cease this fraudulent practice.
                    Your alternative is that we will bring litigation that will put an end to this
                    little scheme. . . . We have attached two samples of the baseless demand
                    letters by which you perpetrate this scheme . . . Tauler Smith’s liability . . .
                    appears on the face of the letters themselves. . . . Your demand letters and
                    the ensuing shake-down calls constitute a “scheme to defraud” under
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                 controlling authority. . . . And because multiple such instances of mail
                 fraud have been committed through an association-in-fact enterprise
                 [including] yourselves, . . . you are liable under RICO. . . . If you
                 immediately abandon further pursuit of this scheme and dismiss all of the
                 enterprise’s pending litigation, our firm will cease investigating these
                 claims . . . If not, we expect that Tauler Smith will be held jointly and
                 severally liable with the fellow members of its enterprise to restore the
                 “settlements” that the enterprise has fraudulently received to date.

(Id. at Ex. C (emphasis added).) Robert Tauler responded to the letter on August 9, 2018. (Id. at Ex. D,
¶7.) On August 24, 2018, Claimants filed a counterclaim and third-party claims against Outlaw
(hereinafter “Initial Counterclaim”). (Id. at ¶¶38, 40, 30.) They alleged that Outlaw was engaged in a
RICO enterprise, and that Defendant and its lawyers were as-yet-unnamed members of the enterprise.
(Id.)

         In November 2018, Defendant submitted an insurance application to underwriting manager
Synergy Professional Associates, Inc. (Id. at ¶45.) Defendant stated in the application that it had “no
incidents or claims” in the prior five years. (Id. at ¶47.) Defendant then submitted an Application for
Lawyers Liability Insurance to Plaintiff. (Id. at ¶48.) Defendant stated that no member of the firm was
aware of any incident, facts, circumstances, acts, or omissions that might result in a professional liability
claim against the firm or any current attorney of the firm. (Id. at ¶49.) Defendant also stated that no
professional liability claim had been made against the firm or any of its members in the prior five years.
(Id. at ¶50.) The application contained a disclaimer that stated, “It is important that you report any
known facts or circumstances that could reasonably be expected to result in a claim to your current
insurer.” (Id. at ¶51.) Robert Tauler signed the application and certified that all information provided
therein was true, accurate, and complete. (Id. at ¶52.) In addition, Defendant submitted a Professional
Liability Warranty letter to Plaintiff in which it stated that it was not aware of “any professional liability
claims or other allegations of errors or omissions made against them . . . which has not already been
disclosed to Wesco Insurance Company in writing.” (Id. at ¶¶53-54.) Defendant also stated that after
inquiry, no members of the Firm were “aware of any actual or alleged error, omission, incident or
circumstances, which might reasonably result in a claim or an accusation of error or omission.” (Id.)

         On November 27, 2018, Plaintiff issued an insurance policy to Defendant for the period
November 11, 2018 to November 11, 2019. (Id. at ¶66.) The policy provides in relevant part that
Plaintiff will pay on behalf of Defendant “sums in excess of the deductible that the Insured shall become
legally obligated to pay as damages because of a claim . . . provided that . . . no Insured knew or could
reasonably have foreseen that any such act or omission, or related act or omission, might be expected to
be the basis of a claim.” (Id. at ¶68.) The policy also contains a condition that states, “the
misrepresentation of any material matter by the Insured or the Insured’s authorized agent/broker, which
if known by the Company would have led to the refusal by the Company to make this contract or provide
coverage for a claim hereunder, will render this policy null and void and relieve the Company from all
liability herein.” (Id. at ¶72.)

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          On July 1, 2019, Claimants filed a motion for leave to file a Second Amended Counterclaim in
part to add new counter-defendants—including Defendant—to the RICO claims against Outlaw. (Id. at
¶55.) On August 19, 2019, the court granted the motion and found that “none of the three proposed
defendants can argue unfair surprise . . . [because] Counterclaimants have long alleged in their pleadings
. . . as early as . . . August 24, 2018 . . . that the lawyers at Tauler Smith LLP . . . jointly participated in
the RICO scheme.” (Id. at Ex. F, pp. 14-15.) Claimants filed a Second Amended Counterclaim naming
Defendant as a counter-defendant on August 20, 2019. Defendant notified Plaintiff on or about August
19, 2019 of the Counterclaim and requested coverage pursuant to the policy.

        On September 20, 2019, Plaintiff filed a Complaint in this Court against Defendant and
Claimants. Plaintiff raises two claims for relief: (1) rescission and (2) declaratory relief. Plaintiff
alleges that if Defendant had provided truthful answers in the insurance application and warranty letter,
then Plaintiff “would not have issued the Policy . . . or at least would have excluded all claims related to
the allegations contained in the Poe Letter and the Initial Counterclaim.” (Id. at ¶77.) Defendant now
seeks to dismiss Plaintiff’s rescission claim pursuant to Federal Rule of Civil Procedure 12(b)(6).

         II.     Legal Standard

         For purposes of a Motion to Dismiss brought pursuant to Federal Rule of Civil Procedure
12(b)(6), plaintiffs in federal court are generally required to give only “a short and plain statement of the
claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The purpose of Rule 8(a)(2)
is to “‘give the defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell
Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47
(1957)). While the Federal Rules allow a court to dismiss a cause of action for “failure to state a claim
upon which relief can be granted,” they also require all pleadings to be “construed so as to do justice.”
Fed. R. Civ. P. 12(b)(6), 8(e); see also Gilligan v. Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir. 1997)
(“The Rule 8 standard contains a powerful presumption against rejecting pleadings for failure to state a
claim.”) (internal quotation omitted).

         In Twombly, the Supreme Court rejected the notion that “a wholly conclusory statement of a
claim would survive a motion to dismiss whenever the pleadings left open the possibility that a plaintiff
might later establish some set of undisclosed facts to support recovery.” Twombly, 550 U.S. at 561
(internal quotation omitted). Instead, the Court adopted a “plausibility standard,” in which the complaint
must “raise a reasonable expectation that discovery will reveal evidence of [the alleged infraction].” Id.
at 556. For a complaint to meet this standard, the “[f]actual allegations must be enough to raise a right
to relief above the speculative level.” Id. at 555 (citing 5 C. Wright & A. Miller, Federal Practice and
Procedure §1216, pp. 235–36 (3d ed. 2004) (“[T]he pleading must contain something more . . . than . . .
a statement of facts that merely creates a suspicion [of] a legally cognizable right of action”) (alteration
in original)); Daniel v. County of Santa Barbara, 288 F.3d 375, 380 (9th Cir. 2002) (“‘All allegations of
material fact are taken as true and construed in the light most favorable to the nonmoving party.’”)
(quoting Burgert v. Lokelani Bernice Pauahi Bishop Trust, 200 F.3d 661, 663 (9th Cir. 2000)). “[A]

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plaintiff’s obligation to provide the grounds of his entitlement to relief requires more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Twombly, 550
U.S. at 555 (internal quotations omitted). In construing the Twombly standard, the Supreme Court has
advised that “a court considering a motion to dismiss can choose to begin by identifying pleadings that,
because they are no more than conclusions, are not entitled to the assumption of truth. While legal
conclusions can provide the framework of a complaint, they must be supported by factual allegations.
When there are well-pleaded factual allegations, a court should assume their veracity and then determine
whether they plausibly give rise to an entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

         III.    Analysis

        As a preliminary matter, Defendant filed a Request for Judicial Notice in support of its Motion to
Dismiss. (Docket No. 19.) Defendant asks this Court to take notice of (1) Judgment and Probation/
Commitment Order re: John Seil Lee, in Case No. 2:19-cr-00008-PA, filed August 20, 2019, and (2)
Judgment and Probation/Commitment Order re: SHH World Trading Enterprises, Inc., in Case No.
2:19-cr-00008-PA, filed August 20, 2019. Defendant has failed to explain how either of these criminal
orders are relevant to the present action. Because the Court did not rely on either criminal order in
reaching this decision, Defendant’s Request are denied as moot.

        The Court concludes that Defendant has failed to present a meritorious argument that would
warrant dismissal of Plaintiff’s rescission claim. Defendant argues that “Tauler Smith had no reason to
think that a claim against it would ‘reasonably result’” and “the threat of litigation on the basis of the
Poe Letter’s accusations had been demonstrably shown to be empty litigation banter.” (Mot. at 4; see
also id. at 6-7 (arguing that “Tauler Smith had every reason to think that Mr. Poe would not sue Tauler
Smith in its counterclaims” because “Tauler Smith was not named as a party in the counterclaims when
they were filed in August of 2018, confirming that such threats against the firm were merely litigation
banter.”).) It appears that Defendant has incorrectly assumed that only a lawsuit qualifies as a “claim”
that must be disclosed in an insurance application. (See id. at 3 (“[T]o whatever extent the Poe Letter
might have constituted a threat needing to be disclosed to Wesco, Mr. Poe’s subsequent litigation
conduct prior to the time of renewal alleviated any concern.”).) But “[a] ‘claim’ can be any number of
things, none of which rise to the formal level of a suit.” Fireman’s Fund Ins. Co. v. Superior Court, 65
Cal. App. 4th 1205, 1216 (1997) (“While a claim may ultimately ripen into a suit, ‘claim’ and ‘suit’ are
not synonymous.”); see also United States Specialty Ins. Co. v. Bridge Capital Corp., 482 F. Supp. 2d
1164, 1168 (C.D. Cal. April 10, 2007) (“[U]nder California law, the term ‘claim’ has a well established,
unambiguous definition. It is defined as ‘the assertion of a liability of the party, demanding that the
party perform some service or pay some money.’”) (citation omitted). Thus, Defendant’s assumption
that the rescission claim fails because Defendant was not sued in the initial counterclaim is unpersuasive.
Tellingly, Defendant’s argument section lacks any citations to supporting case law. For these reasons,
the Court finds that the Motion to Dismiss lacks merit.

       Moreover, Plaintiff has alleged a plausible claim for rescission that is sufficient to survive a
motion to dismiss. Plaintiff alleges facts that Defendant was aware of information that might result in a

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professional liability claim against the firm or current attorney of the firm. Specifically, Plaintiff has
presented facts regarding the Poe Letter, which threatened Defendant with litigation and accused
Defendant of RICO liability for engaging in a scheme to defraud small-business owners. Plaintiff has
also presented facts regarding the Initial Counterclaim in the Outlaw litigation, which explicitly
referenced Defendant and several of its lawyers as members of Outlaw’s RICO scheme. Plaintiff alleges
that Defendant did not disclose any of this information in its application or warranty letter, which
Plaintiff materially relied on in issuing an insurance policy. Had defendant disclosed the Poe Letter or
the Initial Counterclaim, Plaintiff alleges it would not have issued the policy. Altogether, these factual
allegations in the Complaint are sufficient to state a plausible claim for rescission. Whether Defendant
did in fact misrepresent or conceal material information in connection with obtaining the insurance
policy is an issue that must remain unresolved at this stage of the litigation. If Plaintiff is unable to
support its allegations with probative evidence, then its claims may later fail on summary judgment. At
this stage in the proceedings, however, Plaintiff’s allegations are sufficient to survive a motion to
dismiss.

         For these reasons, the Court concludes that the well-pleaded facts alleged in the Complaint
satisfy the federal pleading standard and otherwise provide Defendant with sufficient notice of Plaintiff’s
claims pursuant to Federal Rule of Civil Procedure 8.

         IV.     Conclusion

        The Court denies Defendant’s Motion to Dismiss. Defendant shall file an Answer within 14 days
of the entry of this order.

         IT IS SO ORDERED.




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